                                                                            ~DIN OPEN COURT
                          IN THE UNITED STATES DISTRICT COURT ON li/1.7( ( '6 Nf?
                      FOR THE EASTERN DISTRICT OF NORTH CAROLINA PeterA.Moore,Jr.,Clertc
                                                                 us District Court
                               ·   SOUTHERN DIVISION             EastemDlstrlctofNC

                                    No.1:18~cg-          lqll-UA
 UNITED STATES OF AMERICA

                 v.                                         I N D I C T ME N T

  SARAH JANE BRINSON


      The Grand Jury Charges:

                                    General Allegations

      At all times relevant to this Indictment:

      1.          The defendant, SARAH JANE BRINSON,             (hereinafter "BRINSON")

was   a        licensed attorney and notary public               in the State of North

Carolina.

          2.      The Immigration and Nationality Act                 (hereinafter "INA")

governs the immigration laws of the United States.

      3.          The term "alien" means any person not a citizen or national

of the United States.

      4.          Pursuant     to    the    INA,       aliens   are   not   permitted     to

permanently           reside   in   the    United      States   unless   they   are   lawful

permanent residents.

          5.      Elise6 Hernandez-Lorenzo (hereinafter "Hernandez") was an

alien born in Guatemala without lawful status in the United States.



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        6.     On June 5, 2012, Hernandez traveleuI to the North Carolina
                                                                  !
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Division of Motor Vehicles in Kenansville, North Carolina. Hernandez

presented a          Texas    birth certificate and a                 Social    Security card

assigned to a United States citizen with initials C.S.V. (hereinafter

"the victim") . Hernandez was issued an identification card under the

victim's identity.

        7.     On    June     15,    2012,      the   Secretary       of    Homeland    Security

announced that          certain people who              came to the United States as

children and meet several guidelines may request consideration of

Deferred Action for Childhood Arrivals                       (hereinafter "DACA")         for a

period of two years,                subject to renewal.        DACA beneficiaries were

also eligible to apply for                     an Employment Authorization Document

(hereinafter "EAD") .

        8.     On September 19, 2012, Hernandez traveled to BRINSON's law

office       and retained her            legal    services.    The agreement,          executed

between "Eliseo Hernandez Lorenzo" and "Sarah J. Brinson," provided

for BRINSON to prepare a DACA application on behalf of Hernandez in

exchange of $500 plus $465 filing fee.                        Hernandez advised BRINSON

that     he    had    used,        and   was     utilizing,    the         victim's    means   of

identification in order to work in the United States. An employee

of     the    BRINSON        law     office      made    a   photocopy         of   Hernandez's

identification card under the victim's identity. Hernandez provided



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BRINSON $150 in cash, and received a receipt under the name "Eliseo

Hernandez."

     9.     On January 25, 2013, Hernandez used the victim's means of

identification       in   an     Employment      Eligibility     Verification

(hereinafter   "Form~I-9"),    in order to obtain employment at Sanderson

Farms, Inc., in Kinston, North Carolina.
                                                                      \
     10.    On August 16,      2013,    Hernandez drove a vehicle in Wayne

County, North Carolina, without a driver's license. Hernandez was

stopped by the Wayne County Sheriff's Office and identified himself

as the    victim~   Hernandez was issued a traffic citation under the
 I
victim's identity for no operator's license.

     11.    On September 3,     2013,    Hernandez used the victim's means

of identification in a Form I-9 in order to obtain employment at

Uchiyama, Inc., in Wayne County, North Carolina.

     12.    On October 7,      2013,    Hernandez drove a vehicle in Wayne

County, North Carolina, without a driver's license. Hernandez was

stopped by the Wayne County Sheriff's Office and identified himself

as the victim.      Hernandez was issued a traffic citation under the

victim's identity for no operator's license.

     13.    On October 11,     2013, Hernandez drove a vehicle in Wayne

County, North Carolina, without a driver's license. Hernandez was

stopped by the Wayne Courity Sheriff's Office and identified himself



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as the victim.       Hernandez was i~sued a traffic citation under the

victim's identity for no operator's license.

      14.    On October 18, 2013, BRINSON's law office issued a receipt

to   "Eliseo      Hernandez   Lorenzo"      in    exchange     of   Hernandez's        $350

payment.

      15.   On October 18, 2013, BRINSON's law office issued a receipt

to   "Eliseo      Hernandez   Lorenzo"      in    exchange     of   Hernandez's        $465

payment.

      16.   On October 27,      2013, Hernandez drove a vehicle in Wayne

County, North Carolina, without a driver's license. Hernandez was

stopped by t·he Wayne County Sheriff's Office and identified himself

as the victim.       Hernandez was issued a traffic citation under the

victim's identity for no operator's license.

      17.   On November 1, · 2013,       BRINSON and Hernandez entered into

an   agreement      between   "Eliseo    Hernandez         Lorenzo"       and    "Sarah   J.

Brinson" providing legal representation on four                     (4)    no operator's

license charges in exchange of $600.                The agreement was signed by

Hernandez using the victim's name.

      18.    On November 1, 2013, BRINSON issued a receipt to "Eliseo

Hernandez Lorenzo" in exchange of Hernandez's $600 payment.

      19.    On    November    1,   2013,        BRINSON     notarized          Hernandez's

signature under the victim's identity in three                   (3) court documents

captioned      "Waiver   of   Assigned    Counsel"         "wav [ing]      the    right   to

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assigned counsel                  and consent [ing]   to1 Sarah Jane Brinson to

make an appearance" in the Wayne County District Court.

       20.    On November 15, 2013, BRINSON represented Hernandez under

the victim's identity in the Wayne County District Court.

       21.    On December 6, 2013, BRINSON represented Hernandez under

the victim's identity in the Wayne County District Court.

       22.    On January 18, 2014, BRINSON prepared a DACA application

and an EAD application for submission to immigration officials on

Hernandez's      behalf.    The    DACA   and   EAD   applications     stated   that

Hernandez had not used other names. Hernandez certified under penalty

of perjury that the information contained in the applications was

true and correct. BRINSON executed a preparer's declaration.

       23.    On February 10, 2014, BRINSON represented Hernandez under

the victim's identity in the Wayne County District Court.

                                      COUNT ONE

       On or about January 18, 2014, in the Eastern District of North

Carolina and elsewhere, the defendant, SARAH JANE BRINSON, aided and

abetted Eliseo Hernandez-Lorenzo to knowingly make under oath, and

to knowingly subscribe as true under penalty of perjury under Title

28, United States Code, Section 1746, a false statement with respect

to ·a material fact in an application required by the immigration

laws   and    regulations    prescribed        thereunder,   that    is,   defendant

BRINSON prepared an Application for Consideration of Def erred Action

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for    ~hildhood   Arrivals, Form I-821D, on behalf of Eliseo Hernandez-

Lorenzo,      in which it was stated Eliseo Hernandez-Lorenzo had not

used other names·,       when in fact,        as defendant BRINSON then knew,

Eliseo Hernandez-Lorenzo had used the name of an individual having

1nitials C.S.V.

        All   in violation of Title 18,          United States Code,      Sections

1546(a) and 2.

                                     COUNT TWO

        On or about January 18, 2014, in the Eastern District of North

Carolina and elsewhere, the defendant, SARAH JANE BRINSON, aided and

abetted Eliseo Hernandez-Lorenzo to knowingly make under oath, and

to knowingly subscribe as true under penalty of perjury under Title

28, United States Code, Section 1746, a false           state~ent    with respect

to a material fact in an application required by the immigration

laws    and    regulations    prescribed      thereunder,   that   is,   defendant

BRINSON prepared an Application for Employment Authorization, Form

I-765, on behalf of Eliseo Hernandez-Lorenzo, in which it was stated

Eliseo Hernandez-Lorenzo had not used other names, when in fact, as

defendant BRINSON then knew, Eliseo Hernandez-Lorenzo had used the

name of an individual having initials C.S.V.

        All   in violation of Title 18,          United States Code,      Sections

1546(a) and 2.



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                                      COUNT THREE

       On or about January 18, 2014, in the gastern District of North

Carolina and elsewhere, the defendant, SARAH JANE BRINSON, aided and

abetted Eliseo Hernandez-Lorenzo to knowingly make a false statement

under oath in a case, proceeding, and matter relating to, and under,

and    by    virtue   of    any   law    of       the    United    States       relating     to

naturalization,        citizenship,      and       registry       of    aliens,    that     is,

defendant      BRINSON     prepared     an    Application         for    Consideration       of

Deferred Action for Childhood Arrivals,                    Form I-821D,         on behalf of

Eliseo Hernandez-Lorenzo, in which it was stated Eliseo Hernandez-

Lorenzo had not used other names, when in fact, as defendant BRINSON

then   knew,      Eliseo    Hernandez-Lorenzo             had   used     the    name   of    an

individual having initials C.S.V.

       All    in violation of Title 18,                 United States Code,         Sections

1015(a) and 2.

                                      COUNT FOUR

       On or about January 18, 2014, in the Eastern District of North

Carolina and elsewhere, the defendant, SARAH JANE BRINSON, aided and

abetted Eliseo Hernandez-Lorenzo to knowingly make a false statement

under oath in a case, proceeding, and matter relating to, and under,

and    by    virtue   of    any   law    of       the    United    States       relating     to

naturalization,        citizenship,      and       registry       of    aliens,    that     is,

defendant        BRINSON     prepared         an        Application       for     Employment

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Authorization,     Form I-765,      on behalf of ElJseo Hernandez-Lorenzo,
                                                      I
                                                      I


in which it was stated Eliseo Hernandez-Lorenzo had not used other

names,     when   in   fact,   as   defendant    BRINSON   then   knew,     Eliseo

Hernandez-Lorenzo had used the name of an individual having initials

c.s.v.
     All    in violation of Title 18,           United States Code,       Sections

1015(a) and 2.


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                                    FORFEITURE NOTICE

           The defendant is given notice that pursuant to the provisions

of Title 18, United States Code,                    Section 982 (a) ( 6) (A)      all of the

defendant's interest in all property specified herein is subject to

forfeiture.

       Upon conviction of one or more of the o{f ens es set forth in

Counts One and Two of this Indictment, the defendant shall forfeit

to the United States any conveyance, including any vessel, vehicle,

or    aircraft,       used    in   the   commission          of   the   said   offense;    any

property,        real   or    personal,     constituting,          or   derived    from,   or

traceable       to    any    proceeds     the   defendant         obtained,    directly    or

indirectly, from the commission of the said offense; and any property

used, or intended to be used,               to facilitate the commission of the

said offense.

       The forfeitable property includes, but is not limited to, the

gross proceeds and/or f·acilitating property in the amount of at least

$965.00.

           If any of the above-described forfeitable property, as a result

of any act or omission of a defendant                   -~


     (1)     cannot be located upon the exercise of due diligence;

     (2)     has been transferred or sold to, or deposited with, a third

             party;

     (3)     has been placed beyond the jurisdiction of the court;

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     (4)    has been   substantial~y      diminished in value; or

     ( 5)   has   been commingled with other property which cannot                be

            divided without difficulty;

it is the intent of the United States, pursuant to Title 21, United

States Code, Section 853 (p), to seek forfeiture of any other property

of    said defendant      up   to   the    value   of   the   forfeitable   property

described above.



                                          A TRUE BILL         a
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ROBERT J. HIGDON, JR.
United States Attorney




SEBASTIAN KIELMANOVICH
Assistant United States Attorney




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